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Form ATYHRG


                                    United States Bankruptcy Court
                                              Southern District of Florida
                                               www.flsb.uscourts.gov
                                                                                                       Case Number: 19−24331−PDR
                                                                                                       Chapter: 13
In re:
Ralph Levi Sanders
561 SW 60 Ave.
Plantation FL 33317
SSN: XXX−XX−6171



                                                   NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Peter D. Russin to consider the
following:

[101] Motion to Compel Modification of Plan Filed by Creditor Specialized Loan Servicing LLC (Stewart,
Gavin)

1. This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted time for this matter is ten
   minutes. The hearing will be held:

  Date: April 05, 2021
  Time: 01:00PM
  Location: Telephone by CourtSolutions LLC

2. The hearing scheduled by this notice will take place only by telephone. DO NOT GO TO THE COURTHOUSE. Attorneys must
   advise their clients not to appear at the courthouse. Individuals not represented by counsel will be able to use the telephonic services
   free of charge. Although conducted by telephone, the hearing is a court proceeding. The formalities of the courtroom must be
   observed. All participants must exercise civility, and otherwise conduct themselves in a manner consistent with the dignity of the
   Court.

3. To participate through CourtSolutions, you must make a reservation in advance no later than 3:00 p.m., one business day before the
   date of the hearing. Reservations should be arranged online at https://www.court−solutions.com. If a party is unable to register
   online, a reservation may also be made by telephone at (917) 746−7476.

4. The movant, or movant's counsel if represented by an attorney, must:

      (a) serve a copy of this notice of hearing and, unless previously served, the above−described document(s) on all required parties
          within the time frame required by the Federal Rules of Bankruptcy Procedure, the local rules of this Court, and orders of the
          Court, and

      (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

  Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be heard thereon.

5. PLEASE NOTE: No person may record the proceedings from any location by any means. The audio recording maintained by the
   Court will be the sole basis for creation of a transcript that constitutes the official record of the hearing.

Dated: 2/25/2021
                                                                     By: Gavin N Stewart
